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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

UNITED STATES OF AMERICA,                            §
                                                     §
                Plaintiff,                           §
                                                     §
v.                                                   §                    1:21-CV-796-RP
                                                     §
THE STATE OF TEXAS,                                  §
                                                     §
                Defendant.                           §

                                                ORDER

        Before the Court is the Opposed Motion to Expedite Consideration of Motion to Intervene,

(Dkt. 28), by Erick Graham, Mistie Sharp, and Jeff Tuley (“Movants”). (Dkt. 30). Movants state that

the United States has agreed to file its response on an expedited timeline, no later than Tuesday,

September 28, at 12:00p.m. (Id. at 2). Upon the filing of the United States’ expedited response, the

Court will promptly rule on the underlying motion, including on the issue of participation in the

hearing scheduled for October 1, 2021, and issue its ruling before the scheduled hearing. (See Dkt.

12). In the meantime, the Court assumes and expects Movants, who have stated their desire to

participate in the hearing, to prepare for their participation in the hearing in the event their request is

granted.

        Accordingly, IT IS ORDERED that Movants’ Opposed Motion to Expedite Consideration

of Motion to Intervene, (Dkt. 30), is GRANTED IN PART. IT IS FURTHER ORDERED that

the United States shall file its response no later than September 28, 2021, at 12:00p.m.

       SIGNED on September 24, 2021.


                                               _____________________________________
                                               ROBERT PITMAN
                                               UNITED STATES DISTRICT JUDGE
